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                                                                            (SPACE BELOW FOR FILING STAMP ONLY)
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 3   PHONE (559) 233-2900
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 4

 5
     ATTORNEYS FOR Defendant,
 6                   ERIK GESUS RIVERA

 7

 8                                UNITED STATES DISTRICT COUNT
 9                                EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                        Case No: 1:14-CR-00048–LJO SKO
11
                    Plaintiffs,
12                                                          STIPULATION TO CONTINUE
13          v.                                                    SENTENCING
                                                                      AND
14   ERIK GESUS RIVERA,                                             ORDER

15                  Defendants.

16

17          TO:     THE UNITED STATES DISTRICT COURT; UNITED STATES ATTORNEY'S
18   OFFICE and/or ITS REPRESENTATIVES:
19
            IT IS HEREBY STIPULATED and agreed by and between attorneys for the respective
20
     clients that the Sentencing hearing currently on calendar for August 31, 2015, at 8:30 a.m., be
21
     continued to September 21, 2015, at 8:30 a.m., or as soon thereafter as is convenient to the
22
     court’s calendar.
23
            IT IS FURTHER STIPULATED that the deadlines for the Presentence schedule,
24
     including the filing informal and formal objections to the Pre-Sentence Investigation Report, be
25

26   scheduled as follows:

27   ///

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                                                  1
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 1                  Informal Objections to be served on or before August 31, 2015.

 2                  Formal Objections to be filed on or before September 14, 2015.
 3          This continuance is requested by counsel for Defendant, ERIK GESUS RIVERA, due to
 4
     the fact that counsel has been retained in a criminal case in Oregon involving 19 co-defendants,
 5
     and the Trial in that case is set for August 31, 2015.
 6
            Counsel for Defendant has spoken with Assistant U.S. Attorney, BRIAN DELANEY,
 7
     who has no objection to this continuance.
 8
     Dated: August 13, 2015                 Respectfully Submitted,
 9
                                            NUTTALL & COLEMAN
10                                          /s/ Mark W. Coleman
11                                          MARK W. COLEMAN
                                            Attorney for Defendant,
12                                          ERIK GESUS RIVERA

13   Dated: August 13, 2015.                UNITED STATES ATTORNEY’S OFFICE

14                                          /s/ Brian Delaney
15                                          BRIAN DELANEY
                                            Assistant U.S. Attorney
16                                               *******
17                                                ORDER

18   IT IS SO ORDERED.
19
        Dated:     August 17, 2015                            /s/ Lawrence J. O’Neill
20                                                         UNITED STATES DISTRICT JUDGE

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